                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )          No. 3:11-00194
                                                )          JUDGE CAMPBELL
STERLING RENEVA RIVERS                          )


                                            ORDER

       Pending before the Court is the Defendant’s Petition In Opposition To The Government’s

Motion To In Limine Regarding Impeachment Of Testifying Witnesses (Docket No. 1423). In

an Order entered on July 30, 2013 (Docket No. 1417, at 1), the Court ruled on the Government’s

Motion as follows: “Defendant may impeach the credibility of Government witnesses with their

prior convictions pursuant to Rule 609. The Government shall make contemporaneous

objections at trial if the Defendant exceeds the scope of Rule 609 as to impeachment by prior

conviction.” None of the arguments made in the Defendant’s Petition (Docket No. 1423) lead the

Court to change its prior ruling.

       Also pending before the Court is the Defendant’s Petition To Reopen Evidentiary

Hearing To Dismiss Due To Outrageous Government Conduct That Violates Due Process, Due

To Newly Discovered Evidence (Docket No. 1424). Through the Petition, the Defendant seeks

to introduce “newly discovered evidence,” regarding a recording on one of his cell phones that

was seized by law enforcement, to support his request to dismiss based on outrageous

government conduct. The Court held an evidentiary hearing on May 16, 2013, and denied

Defendant’s request to dismiss in an Order entered on June 4, 2013 (Docket No. 1339). Nothing




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in the Defendant’s Petition To Reopen lead the Court to change its prior ruling. Accordingly, the

Petition To Reopen (Docket No. 1424) is DENIED.

       It is so ORDERED.



                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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